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9

10                       UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
11

12   VINCENT VALDEZ, individually and ) Case No.:        2:22-cv-00240
13
     as Personal Representative of the    )
     Estate, VINCENT NELSON;              ) COMPLAINT FOR DAMAGES
14
                                          )
15                         Plaintiffs,    ) 1. Deliberate Indifference to a
                                                Substantial Risk of Harm to
            vs.                           )     Health & Safety - 42 U.S.C.§1983
16
                                          )     - 14th Amendment
17   COUNTY OF LOS ANGELES, a             )  2. 14th Amendment - State Created
                                                Danger
18
     Governmental Entity; DR. MELANY ) 3. Violation of Title II of The
     KIM, individually; Dr. JONATHAN )          Americans with Disabilities Act
19   SHERIN, individually; ALEXIS RAY, )        and The Rehabilitation Act
                                             4. Monell Violation for Failure to
20   individually; and DOES 1 through 10, )     Train - 42 U.S.C. §1983
     inclusive,                           ) 5. Monell Violation for
21                                              Unconstitutional Custom, Policy
                                          )
                                                and Practice - 42 U.S.C.§1983
22                        Defendants.     ) 6. 14th Amendment - Interference
23
                                          )     With Familial Relations - 42
                                          )     U.S.C. §1983
24
                                             7. Negligence - Wrongful Death
                                          )     (State)
25                                        ) 8. Failure to Summon Medical Care
                                          )     G.C. 845.6 & 844.6 (state)
26
                                          )
27                                        )     DEMAND FOR JURY TRIAL
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                                          )
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1                                    INTRODUCTION
2       1.        This case involves the in custody suicide of Vincent Nelson ("Mr.
3    Nelson "), and Los Angeles County's and individual Defendant's deliberate
4    indifference to Mr. Nelson‟s health and safety.
5       2.   Mr. Nelson had previously been arrest and incarcerated Twin Towers
6    Correctional Facility ("TTCF") where he was diagnosed with Schizophrenia,
7    depression and anxiety on April 5, 2017.
8       3. Mr. Nelson also had a known history of mental illness, was on psychiatric
9    medication, had exhibited unpredictable and manic behavior, had previously been
10   assigned to the High Observation Housing (HOH) at TTCF and had a prior suicide
11   attempt when he attempted to take his life at TTCF in June 12, 2017. At that time,
12   he was assessed as a suicide risk and placed in the High Observation Housing
13   unit, a unit where deputies conduct welfare checks every fifteen minutes.
14      4. While languishing in general population, Mr. Nelson who had previously
15   been deemed incompetent to stand trial by a court psychiatrist and ordered to be
16   committed at a state mental hospital, had severely decompensated to the point of
17   taking his own life, despite the presence of a cellmate. Mr. Nelson‟s death was
18   preventable. If not for Defendants' failure to train, their maintenance of
19   unconstitutional policies, practices, and customs, their knowing failure to abide
20   with a 2015 U.S. Department of Justice settlement agreement which caused
21   significant delays in transferring mentally ill pretrial detainees committed to state
22   hospital, and their deliberate indifference to Mr. Nelson 's health and safety, Mr.
23   Nelson would be alive today.
24      5. A pretrial detainee is allowed brief time outside of his cell, only during
25   infrequent trips the dayroom, the brief and occasional shower periods, a visit from
26   a family member or an attorney, response to sick call or receipt of medical
27   attention, or an appearance in court. The remainder of the time is spent either in
28   the cell, in the adjoining walkway, or in the cell of another prisoner in the same




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1    cell block. There is no television, no radio, no entertainment other than what they
2    and those who share their cell block can create, such as playing cards or dominoes
3    on the concrete floor. Unless they have a penchant for writing, and except to the
4    extent that their inclination and the strength of their eyes will permit them to read,
5    most of the time there is little for them to do but sit or lie on their bed. Mr. Nelson,
6    who suffered from severe mental illness and suicidal ideation, was left in these
7    isolated conditions by Defendants in a small cell with a detainee who was also
8    mentally ill, and upon information and belief, suicidal--resulting in Mr. Nelson's
9    suicide. Defendants' failure to provide Mr. Nelson with basic level medical and
10   mental health care, and a deliberate indifference to his health and safety caused his
11   premature death.
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1                                JURISDICTION AND VENUE
2       6.         The federal court of the Central District also has original jurisdiction
3    over the federal civil rights claim pursuant to 28 U.S.C. §§ 1331 and 1343. The
4    federal court also has supplemental jurisdiction over any state-law claims pursuant
5    to 28 U.S.C. § 1367(a).
6       7.         This action is filed under the Due Process Clause of the Fourteenth
7    Amendment of the United States Constitution, pursuant to 42 U.S.C. § 1983, to
8    redress injuries and the death suffered by the plaintiffs‟ decedent at the hands of
9    defendants.
10      8.    Jurisdiction and venue are proper in the Central District of California in
11   that the acts of misconduct occurred within the Central District of California with
12   such acts causing the death of Mr. Nelson .
13      9.         On or about June 14, 2021, Plaintiff submitted a California Tort
14   Claim against the municipality, Defendant COUNTY OF LOS ANGELES
15   ("COUNTY"). Plaintiff‟s claim was rejected on July 14, 2021, therefore
16   Plaintiff has exhausted all administrative responsibilities.
17      10.    At all relevant times, Mr. nelson was a pre-trial detainee at the TTCF
18   operated by the COUNTY.
19      11. Venue is proper in the federal court of the Central District pursuant to
20   Title 28 U.S.C. § 1391(b) and (c).
21                                          PARTIES
22      12.        At all relevant times, Vincent Nelson was an individual residing in
23   the County of Los Angeles, California. It must be remembered that the detainees
24   concerned in this action are held prior to trial and thus have not been convicted of
25   any crime. They are still entitled to the presumption of innocence, and their
26   detention cannot be for purposes of punishment, deterrence or retribution.
27   Furthermore, as a pretrial detainee, Mr. Nelson was deemed incompetent to stand
28   trial, and thus as incompetent detainee is entitled a higher level of
     presumption due to his vulnerable status.




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1       13.        Plaintiff, Vincent Valdez, is the biological father and sole surviving
2    parent of Mr. Nelson. He is acting in his own capacity and as a successor-in-
3    interest to Mr. Nelson‟s estate.
4       14.        Defendant COUNTY, at all relevant times herein mentioned were
5    and is a business entity, of form unknown, having its principal place of business in
6    the County of Los Angeles, State of California. The COUNTY purposely
7    conducts substantial business activities in the State of California. COUNTY is a
8    governmental entity that acts through individuals to establish its policies and that
9    is capable of being sued under federal law. COUNTY, through the Los Angeles
10   Sheriff‟s Department operates the TTCF, a County jail located in Los Angeles,
11   California.
12      15. Defendant Dr. JONATHAN SHERIN, (“Dr. SHERIN”) was at all times
13   mentioned herein the Director of Los Angeles County Department of Mental
14   Health and in charge of Men‟s Central Jail Mental Health Operations in Los
15   Angeles County, the facility where Mr. Nelson resided at the time of his death. Dr.
16   SHERIN is responsible for the management and administration of mental health
17   services of the MCJ; for the selection, promotion, supervision, training, discipline,
18   including retention of mental health worked working within the Men‟s Central
19   Jail, including counselors, nurses, doctors, physician assistance, mental health
20   staff and supervisors; and for the implementation of mental health policies and
21   procedures at Men‟s Central Jail. Dr. SHERIN is regularly provided with reports
22   concerning the treatment of mentally ill inmates, jail suicides, and other violations
23   involving the mental health care and treatment of inmates at the jail. Dr. SHERIN
24   is sued in his individual capacity, a supervisor for his own culpable action or
25   inaction in the training , supervision or control of his subordinates, or his
26   acquiescence in the constitutional deprivation which this Complaint alleges, or for
27   conduct that showed reckless or callous indifference for others. Dr. SHERIN‟s
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1    affirmative conduct involves his knowing failure to ensure enforcement of
2    policies, rules or directives that set in motion a series of acts by others which he
3    knew or reasonably should have known would cause others to inflict a
4    constitutional injury on Vincent Nelson.
5       16.      Defendant Dr. Melany Kim ("Dr. KIM") is a medical doctor
6    specializing in psychiatry, and was responsible for providing competent mental
7    health and medical care, treatment, medication recommendation, and follow-up
8    care to Vincent Nelson. She was a duly authorized employee and agent of the
9    COUNTY, acting under color of law within the course and scope of her
10   perspective duties as a psychiatrist and with the complete authority and
11   ratification of their principal, COUNTY. Defendant KIM is sued in her individual
12   capacity.
13      17.       Defendant Alexis Ray ("RAY") is a psychiatric social worker, and
14   was responsible for providing competent mental health and medical care,
15   treatment and intervention to prevent attempts at suicide by inmates, housing
16   recommendation, and follow-up care to Vincent Nelson. She was a duly
17   authorized employee and agent of the COUNTY, acting under color of law within
18   the course and scope of her perspective duties as a psychiatrist and with the
19   complete authority and ratification of their principal, COUNTY. Defendant RAY
20   is sued in her individual capacity.
21      18.       Plaintiff is unaware of the true identities and capacities of defendants
22    DOES 1 through 10 but upon information and belief, said DOES are employees
23   of the County, inclusive. Each of the fictitiously named defendants is in some
24   manner and to some extent liable for the injuries alleged in this Complaint.
25   Plaintiff will seek leave to amend this Complaint to allege the true identities and
26   capacities of those fictitiously named defendants when they are determined.
27      19.       At all times mentioned herein, each Defendant was responsible in
28   some manner or capacity for the occurrences herein alleged. Plaintiffs' damages,




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1    as herein alleged, were proximately caused by all the acts and omissions of said
2    Defendants. Defendants, COUNTY, and DOES 1-10 are sometimes collectively
3    referred to herein as "Defendants" and/or as "All Defendants" and such collective
4    reference refers to all specifically named Defendants.
5       20.       At all relevant times herein, Defendants were the agents,
6    representatives and employees of each other and every other Defendant. In doing
7    the things herein alleged, Defendants were acting under the color of law and
8    within the course and scope of their duties of said alternative personality, capacity,
9    identity, agency, representation and/or employment and were within the scope of
10   their authority, whether actual or apparent.
11      21.       DOES 7-10 failed to train Sheriff Deputies and jail staff to identify
12   indicators and behavior of persons in need of immediate medical care and/or
13   persons with mental health issues; and failed to train Los Angeles County Sheriffs'
14   Deputies and other jail staff to properly identify and communicate to superiors the
15   need for immediate medical attention of persons in the jail.
16      22.       In committing the acts alleged in this complaint defendants acted
17   knowingly, maliciously and with reckless or callous disregard for the
18   constitutional rights of Plaintiffs justifying an award of punitive damages under
19   federal law against each individual defendant.
20                               GENERAL ALLEGATIONS
21      23.       The TTCF located at 450 Bauchet St, Los Angeles, CA 90012, is the
22   nation's largest mental health ward but has neither the expertise nor medical staff
23   to house such an inmate population. Any deprivation of Mr. Nelson‟s liberty is
24   very substantial punishment. But the punishment imposed upon a man deemed
25   incompetent to stand trial by depriving him of in-patient treatment and confining
26   him in the TTCF jail in order to insure his presence at trial is far more onerous
27   than the legitimate purpose of such confinement can justify. The Constitution does
28   not tolerate the “warehousing” of the mentally ill in jail settings.




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1        24.      Defendant COUNTY is and was operating under a federal consent
2    decree, United States District Court. Central District of California, Western
3    Division, case# 15- 5903, because of the County's negligent management of its
4    jails.
5        25.      Defendant COUNTY, Dr. SHERIN and DOES 7-10 are together
6    responsible for the conditions of confinement and health and safety of persons
7    incarcerated at the Jails. COUNTY, through its Department of Mental Health,
8    provides mental health services to prisoners in the Jails.
9        26.      Defendant is legally responsible, in whole or in part, for the operation
10   and conditions of the Jails, and for the health and safety of persons incarcerated
11   there. Defendant COUNTY owns and operates the Jails; Defendant DOES 7-10
12   are responsible for the security and custody operations of the Jails; Defendant
13   COUNTY, through its Department of Mental Health, is responsible for providing
14   mental health care services to prisoners in the Jails; and Defendant COUNTY is
15   responsible for funding the operations and maintenance of the Jails. This action
16   concerns the administration of persons confined at the Jails, which houses adult
17   male and female prisoners who are felons, gross misdemeanants, misdemeanants,
18   pre-trial detainees, witnesses, or others being detained in protective custody.
19       27.      At all relevant times, Defendant or their predecessors in office have
20   acted or failed to act, as alleged herein, under color of state law.
21       28.      The Jails are an institution within the meaning of 42 U.S.C. §
22   1997(1).
23       29.      Persons confined to the Jails include both pre-trial detainees and
24   sentenced prisoners.
25       30.      Defendant has repeatedly and consistently disregarded known or
26   serious risks of harm to prisoners at the Jails. At all relevant times, Mr. Nelson
27   was a pre-trial detainee. As a pre-trial detainee, defendants owed a constitutional
28   duty of care to Mr. Nelson‟s medical needs and safekeeping under the recent




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1    9th Circuit Appellate decision in Gordon v. County of Orange et al, 888 F.3rd
2    1118 (April 2018).
3       31.       However, in light of such constitutional standard of care, Defendants
4    have repeatedly failed to take reasonable available measures to protect Mr. Nelson
5    against the serious harm from suicide and self-harm due to, but not limited to: (1)
6    inadequate suicide prevention measures; (2) lack of appropriate screening by
7    custody and mental health staff to assess suicide risk; (3) lack of appropriate
8    supervision, observation, and monitoring of prisoners, including those identified
9    as at risk of suicide; (4) inadequate communication between mental health care
10   and custody staff; (5) lack of appropriate multi-disciplinary treatment plans; (6) an
11   inadequate suicide or critical incident review process; (7) placing two mentally
12   unstable detainees in the same cell; (8) failure to conduct proper Title 15 welfare
13   checks; (9) failure to house highly vulnerable mentally ill detainees in forensic in-
14   patient program; (10) failure to hospitalize victim in psychiatric hospital that
15   could perform an in-patient evaluation; (11) failure to monitor psychiatric
16   medication intake; and (12) failure to follow up on multiple suicidal ideations.
17      32.       Defendants have maintained a physical environment at the Jails,
18   including TTCF, that causes harm and poses an unreasonable, and known, risk of
19   serious harm to prisoners' health and safety by failing to correct facility housing
20   and maintenance problems in addition to inadequate housekeeping and sanitation
21   that causes harm or poses a risk of harm to the prisoners and Staff within the
22   facility.
23      33.       Through the acts and omissions alleged in this Complaint,
24   Defendants have violated the rights, privileges, and immunities of
25   persons, including Mr. Nelson , confined in the jails secured or protected by the
26   Fourteenth Amendment to the Constitution of the United States. Defendants acted
27   deliberately indifferent to Mr. Nelson's health and safety as a pre-trial detainee
28   under the Fourteenth Amendment.




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1        34.       Plaintiffs‟ Decedent was deprived of his interests protected by the
2     Constitution or laws of the United States, and defendants caused all such
3     deprivations while acting under color of state law.
4        35.       All acts or omissions alleged to have been engaged in by any
5     individual defendants were committed with evil motive and intent, and in callous,
6     reckless, and wanton disregard to the individual rights of Plaintiff.
7                                   FACTUAL ALLEGATIONS
8        36.       Plaintiff incorporates all prior paragraphs and page allegations as the
9     though fully set forth herein, including all exhibits.
10       37.       Due to his mental illness, Mr. Nelson was arrested and charged with
11    making terroristic threats (P.C. §422) and a violation of parole on August 4, 2020.
12    Upon information and belief, he was placed on a “no-bail” status and booked at
13    twin towers correctional facility.
14       38. While he was initially processed at the Intake Release Center, he was
15    medically screen. However, the deputy reviewing the medical screening form
16    noted “no history of suicidal attempt”, “no history of mental illness”, “no
17    medication” and “no history of mental health treatment”, all of which was false as
18    a simple review of Mr. Nelson‟s prior 2017 incarceration medical records would
19    have revealed his diagnosis of schizophrenia, substance use, depression and
20    anxiety. Most important, the medical records also noted an alert for a prior June
21    2017 suicide attempt and housing in the HOH unit. The past medical records also
22    noted that Mr. Nelson, due to his mental illness, suffered from delusions, was
23    hearing voices, had little to no insight into his psychiatric condition, at times
24    denying his need for any treatment.
25       39.       On September 10, 2020, while attending his criminal court hearings,
26    it soon became evident that Mr. Nelson‟s mental illness was severe enough to
27    warrant a diversionary program, and in light of his past psychiatric history
28    including a suicide attempt. The court, after a court referred psychiatric




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1     evaluation, found Mr. Nelson incompetent to stand trial under the “FIST”
2     program. Mr. Nelson‟s mental illness was severe enough to warrant inpatient
3     psychiatric treatment. He was committed to the Patton State Hospital on October
4     1, 2020. Despite a positive finding from a court ordered psychiatric evaluation
5     that Mr. Nelson suffered from a serious mental illness, and was deemed
6     incompetent, department of mental health staff at the jail, (DMH), did not request
7     a bed in the Forensic Inpatient Program (“FIP”). Per DMG policies, FIP is
8     indicated for mentally ill inmates who either present an acute danger to self or
9     others, or are “gravely disabled”, due to a mental illness requiring in-patient care.
10       40. On October 5, 2020, Mr. Nelson, who has been nursing a nerve injury
11    affecting his arm, informs the medical staff, through a medical slip, that his
12    “extreme nerve damage in my arm, causing so much pain I am finding it difficult
13    to live my life…” . This information along with the medical slip is placed in Mr.
14    Nelson‟s digital medical file, searchable and accessible to other medical and
15    custody staff of the LASD, the Department of Mental Health and Medical Service
16    Bureau.
17       41.    Just a few days later, on October 11, 2020, right around the time Mr.
18    Nelson was committed by the court to be hospitalized at Patton state, Mr.
19    Nelson‟s mental state is deteriorating, and while he is languishing in general
20    population, places another urgent mental health request stating “I need help
21    falling asleep, please…I am having Major Anxiety Attack, cannot sleep at all.
22    Almost want to go man down hard to calm myself down too much stress.” The
23    term “man-down” in jail parlance refers to an inmate suffering a serious medical
24    distress or death and thus, Mr. Nelson was expressing suicidal ideation as a
25    solution to his anxiety. This information along with all medical slips are placed in
26    Mr. Nelson‟s digital medical file, searchable and accessible to other medical and
27    custody staff of the LASD, the Department of Mental Health and
28    Medical Service Bureau.




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1        42. On October 15, 2020, in response his desperate plea for help, Mr. Nelson,
2     who had psychologically decompensated, is seen by defendant RAY, a psychiatric
3     social worker, who reviews his chart and notes his prior suicide attempt and
4     history of psychiatric illness. She also notes Mr. Nelson attempting to minimize
5     the severity of his mental health illness, at times denying the need for any
6     medication or treatment. Despite a clear history of prior psychiatric illness and
7     medication intake, a recent indication of self-harm ideations due to his anxiety
8     attacks, and past history of suicide attempt at TTCF, defendant RAY does not
9     refer him nor recommend Mr. Nelson to be transferred to either an observation
10    unit, such as the HOH or MOH, which is more frequently checked by guards and
11    medical staff.
12       43. On October 26, 2020, a psychiatrist by the name of John Jimenez attends
13    to Mr. Nelson and notes that he “is difficult to redirect, pt, complaining of
14    “bouncing off the walls, “trouble sleeping”. Dr. Jimenez prescribes a low dose,
15    1mg of Risperidol to address his sleeplessness but never follows up with him to
16    evaluate the effects of the drug upon Mr. Nelson. Dr. Jimenez further purports to
17    conduct a W&I 5150-Suicide/Danger-to-self evaluation but concludes “no acute
18    intervention was indicated at that time, not at imminent risk of self-harm” in light
19    of Mr. Nelson‟s decompensated state and suicidal threats made in his medical
20    request note.
21       44.          While at TTCF, Mr. Nelson was never placed in the High
22    Observation Housing for his suicidal ideation, which requires 15 minute checks,
23    24 hours a day, and refers to designated areas for prisoners with serious mental
24    illness who require an intensive level of observation and care and/or safety
25    precautions. TTCF also had a higher level of care for mentally ill patients beyond
26    the HOH, which was the Forensic In-Patient (FIP) program. The FIP houses
27    prisoners who present an acute danger to self or others or are gravely disabled due
28    to a mental illness and require inpatient care. Tiered HOH housing, unlike FIP




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1     housing, was not designed for inpatient psychiatric treatment or for housing
2     inmates with profound psychiatric illness.
3        45. On November 24, 2020, Mr. Nelson is seen by Dr. KIM, she notes that
4     his is a FIST inmate, deemed incompetent to stand trial, also noted was committed
5     to a state hospital on October 1s, 2020. She also increases his Risperidol dosage
6     from 1 to 3 mg, and notes that he reported a history of auditory hallucinations. It is
7     unclear whether she informs Mr. Nelson that he was previously committed to state
8     hospital because Mr. Nelson, based on Dr. KIM‟s note, appears apprehensive that
9     his criminal case is “on hold”. Dr. KIM‟s note also appear to minimize Mr.
10    NELSON‟s symptoms based on the fact that his three medical requests on
11    10/11/20, and two subsequent medical request made on 12/2/20 and 12/12/20
12    indicate worsening symptoms of anxiety and sleeplessness.
13       46. In fact, within the month preceding his death, Mr. Nelson placed several
14    collect calls to his aunt, Bridget August, during which calls he pleaded for
15    desperate help that the mental health staff was not helping him, that his psychiatric
16    state had worsened, and that he wanted to take his life as a result of suicidal
17    thoughts and ideation making remarks such as “if I don’t’ get the f*** out of here,
18    I am going man down”.        Upon information and belief, the custody staff monitor
19    collect call from inmate and as such, would have been apprised of Mr. Nelson‟s
20    threat of suicidal intent.
21       47. On December 2, 2020, Mr. Nelson is further decompensating, suffers from
22    an aggravated state of anxiety and depression, unable to sleep and places another
23    medical request informing mental health staff “the pills I am prescribed make my
24    anxiety worse, need different medication”. Mr. Nelson was referring to his
25    Risperidone which was just recently titrated from 1mg to 3 mg on November 24,
26    2020.
27       48.    Clinical studies indicate that sleep deprivation for inmates who are
28    otherwise healthy causes psychiatric symptoms to emerge such as cognitive




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1     deficits, confusion, anxiety and sluggishness. Now if sleep deprivation affects
2     inmates with a preexisting psychiatric conditions such as depression and bipolar
3     disorder, including pretrial detainees deemed incompetent to stand trial, there is
4     evidence of psychosis, mania and a high risk factor for suicide, especially after
5     these inmates have previously suffered from a psychotic breakdown.
6        49. According to Dr. KIM‟s charting notes, she was supposed to visit Mr.
7     Nelson on December 8th but never did claiming there was a “custody related issue
8     in unit 2000” .
9        50. Again, on December 12, 2020, Mr. Nelson is continuing to suffer from
10    sleepless nights which became a vicious cycle aggravating his anxiety and
11    depression, and his suicidal thoughts. He puts another written medical request slip
12    indicating: “The medication I’m prescribed does not help me get to sleep at all.
13    Can I please get medication switched to something that will help me get some
14    sleep?” As of this day, Mr. Nelson‟s psychiatric medication, Risperidone had
15    previously been increased from 1mg to 3 mg on November 24h despite contrary
16    indication of its utility and noted “limited benefits” by Dr. KIM.
17       51.   On December 15, 2022, Dr. KIM admittedly notes that Risperidone had
18    “limited benefits”, even though Mr. Nelson indicated that it made his anxiety
19    worse and including his inability to sleep. However, despite the drug‟s
20    contraindication, Dr. KIM increased his Risperidone dosage from 3 to 5 mg, and
21    in light of Mr. Nelson previously imploring to change his medication because it
22    making his symptoms worse including his self-harming behavior. Dr. KIM also
23    added Remeron and Benadryl but never followed up with Mr. Nelson past this
24    date to see what effects the increased dose and the two new drugs had on him.
25    Despite his prior suicidal ideations, the medical slips, and past psychiatric
26    condition and history of suicide attempt, Dr. KIM does not recommend Mr.
27    Nelson to the FIP or the HOH, rather she sends him back to the general population
28    when she knows there is minimal supervision and psychiatric intervention.




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1        52. When individuals with serious mental illness who are deemed incompetent
2     wait in jail for competency restoration treatment, they become more difficult to
3     restore competency because of the lack of treatment. Conditions of confinement
4     are extremely harsh and punitive, and thus serves the opposite effect of a
5     therapeutic milieu required to restore pretrial detainee‟ mental health.
6     Specifically, once an incompetent pretrial detainee such as Mr. Nelson suffers
7     from an acute exacerbation of psychiatric symptoms while in jail, it is vital they
8     receive mental health treatment right away; otherwise their prognosis become
9     worsens by the day. Specifically, clinical research has shown that once a person
10    experiences an acute psychotic episode such as mania, depressive or a suicidal
11    crisis, the longer the individual goes without treatment, the worse his psychiatric
12    prognosis.
13       53. On December 18, 2020, at approximately 7:00 p.m., upon conducting a
14    pill call, Nurse Amaya and an escorting deputy called “Man down” when they
15    came upon Mr. Nelson‟s cell, he is standing by the cell bars facing towards the
16    wall with a blanket wrapped around this neck, and not moving.
17       54. Upon information and belief, Mr. Nelson‟s cellmate, who was classified as
18    actively suicidal, had allegedly slept through Mr. Nelson‟s act of hanging himself,
19    and was then alerted by the nurse to raise Mr. Nelson in order to relieve pressure
20    on his neck. The cellmate was also ordered to initiate rescue breathing even
21    though he was likely not trained on administering CPR. Once the paramedics
22    arrived and attended to Mr. Nelson, a week pulse was regained and breathing
23    resumed. Mr. Nelson was transported to LAC-USC. However, although he
24    regained a pulse, he had been deprived of oxygen for an irreparable amount of
25    time, causing him to suffer from anoxic encephalopathy, or brain death. He was
26    taken off life support and expired at 5:20 a.m. on December 22, 2020.
27       55. Defendants had implemented a “buddy system” for suicidal inmates as a
28    deterrent for suicidal acts. However, the obvious flaw in this system is if both




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1     inmates are suicidal, then the presence of another suicidal inmate may encourage
2     the fist inmate to commit his final act knowing that the person who is supposed to
3     watch for him, could careless since he too is suicidal.
4        56. In light of Mr. Nelson's fragile psychiatric condition, it was apparent and
5     foreseeable that incarceration of a committed incompetent detainee, in a custodial
6     environment such as TTCF--an even more extreme restriction of liberty--could
7     result in rapid deterioration of his psychiatric condition. Despite this information,
8     Defendants did not request placement in the FIP to ensure that Mr. Nelson 's
9     condition could be appropriately monitored and treated, nor did Defendants assess
10    whether Mr. Nelson could be safely housed outside the FIP.
11       57.       The TTCF has been and is currently working under federal
12    supervision since September 3, 2015 pursuant to Defendant's Order Approving
13    And Entering Joint Settlement Agreement As An Order, Stipulation and Order
14    Approving And Entering Joint Settlement Agreement As An Order in case #15-
15    5903, United State District Court For The Central District of California, Western
16    Division. (See Exhibit #1). This order resulted in bi-annual reporting requirements
17    concerning the conditions for detainees with mental health issues at TTCF, and
18    whether the agreement imposed by the court has been adhered to. The latest
19    report, which concerned the period of July 1, 2020 - December 31, 2020, indicated
20    that "the pace of compliance has slowed and a number of the most challenging
21    mental health provisions remain Non-Compliant now more than five years after
22    the Agreement was executed." (See Exhibit #2). Some of the issues indicated in
23    the report are staffing deficits, a failure to provide mental health assessments after
24    an adverse triggering event such as suicide attempts or self-injurious behavior, a
25    failure to provide clinically appropriate mental health crisis intervention services,
26    and an analysis indicating that only 2% of the records reviewed in the second
27    quarter and 4% in the third quarter reflected that HOH inmates were offered
28    clinically appropriate treatment at least weekly and were seen by a Qualified




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1     Mental Health Professional at least once a month.
2        58.        Mr. Nelson was 28 years old when he passed away.
3                                    FIRST CLAIM FOR RELIEF
4              DELIBERATE INDIFFERENCE TO A SUBSTANTIAL RISK OF
5                       HARM TO HEALTH & SAFETY-42 U.S.C. § 1983,
6                               14th Amendment of the U.S. Constitution
7                        (Against All Individual Defendants and DOES 10)
8        59.       Plaintiff repeats and re-alleges each and every allegation in
9     paragraphs 1-5 and 12-58 of this Complaint with the same force and effect as if
10    fully set forth herein.
11       60.       Plaintiffs bring their deliberate indifference claim under the standards
12    articulated in Gordon v. Cty. of Orange, 888 F.3d 1118 (9th Cir. 2018).
13       61.       From the time decedent was booked at the TTCF until the time of
14    death, the Defendants repeatedly denied Mr. Nelson safe psychiatric housing and
15    treatment in repeated violation of his 14th Amendment constitutional rights.
16       62.       All Defendants, including Dr. KIM, Dr. SHERIN, and DOES 1-10
17    and RAY were informed that Mr. Nelson suffered from a serious mental illness,
18    had been committed to a state hospital, was court ordered to received in-patient
19    psychiatric treatment, was psychiatrically unstable, had previously attempted
20    suicide, had psychologically decompensated, and had alerted the mental health
21    staff of suicidal ideations.
22       63.       All Defendants were informed that Mr. Nelson‟s prescribed
23    psychiatric mediation was specifically making his condition worse, and
24    aggravated his depression, anxiety and suicidal ideation.
25       64.       All of the Defendants knew there was a substantial risk to Mr.
26    Nelson‟s safety if he remained in general population, but repeatedly denied him
27    safe placement, monitoring and treatment while in the jail.
28       65.       Defendants made an intentional decision with respect to the




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1     conditions under which Mr. Nelson was confined. To wit, defendants deliberately
2     ignored his cries for his anxiety attacks, and threats to cause self-inflicted harm,
3     and failed to transfer him to a higher level of psychiatric care. The numerous
4     medical slips alerting the medical staff of suicidal ideations, coupled with his
5     incompetent status requiring him to be promptly committed to a psychiatric
6     hospital, necessitates a higher level of psychiatric care and observation in either
7     the HOH or FIP. Mr. Nelson qualified for this higher level of care because he
8     presented an acute danger to himself and was gravely disabled due to his mental
9     illness. Defendants including KIM, RAY and DOES 1-10 were also callous and
10    deliberately indifferent to Mr. Nelson when it was obvious he needed urgent
11    medical care as he continues to languish in general population, with another
12    suicidal inmate, untreated.
13       66.       Those decisions placed Mr. Nelson at a substantial risk of danger,
14    and risk of suffering severe harm and suicide because every Defendant was
15    unequivocally informed of Mr. Nelson‟s incompetent status due to a serious
16    mental illness, suicidal ideations, and a deliberate increase in dosage of
17    contraindicated psychiatric medication, expectedly exacerbated his condition.
18    Those decisions also placed Mr. Nelson at a substantial risk of danger to his
19    health, because every Defendant knew that the longer Mr. Nelson went untreated,
20    the greater the risk of a worse psychiatric prognosis.
21       67.       Defendants did not take reasonable available measures to abate
22    those risks, even though reasonable officials in the circumstances would have
23    appreciated the high degree of risk involved-making the consequences of the
24    defendants‟ conduct obvious. Those reasonable available measures included: (1)
25    adequate suicide prevention measures; (2) appropriate screening by custody and
26    mental health staff to assess suicide; (3) appropriate supervision, observation, and
27    monitoring of prisoners, including those identified as at risk of suicide; (4)
28    adequate communication between mental health care and custody staff;




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1     (5) appropriate multi-disciplinary treatment plans; (6) adequate suicide or critical
2     incident review process; (7) ensuring two mentally suicidal detainees were not
3     housed in the same cell; (8) conducting proper Title 15 welfare checks; (9)
4     housing highly vulnerable mentally ill detainees in forensic in-patient program;
5     (10) hospitalization of victim in a psychiatric hospital that could perform an in-
6     patient evaluation; (11) promptly replacing as opposed to increasing dosage of
7     psychiatric medication which actually enhanced Mr. Nelson‟s suicide risk and was
8     known to be a side effect of the same; (12) monitor psychiatric medication intake;
9     (13) housing Mr. Nelson in the FIP unit pending his transfer to state hospital.
10       68.       By not taking such measures, the defendants caused Mr. Nelson 's
11    injuries and ensuing death.
12       69.       It was objectively unreasonable for the Defendants to ignore the
13    numerous objective signs and symptoms of a serious health, safety and mental
14    health crisis. The denial of placing Mr. Nelson in the forensic in-patient unit for
15    psychiatric treatment and monitory, and failing to take other reasonable measures
16    placed Mr. Nelson 's life in jeopardy and acted with deliberate indifference to a
17     substantial risk of harm to Mr. Nelson 's safety.
18       70.       Accordingly, Defendants each are liable to Plaintiffs for
19    compensatory, including Chaudry v. County San Diego-loss of life and loss of
20    opportunity of life damages, pre-death pain and suffering damages, punitive
21    damages under 42 U.S.C. § 1983 and the 14th Amendment, as well as for wrongful
22    death damages.
23                                  SECOND CLAIM FOR RELIEF
24                      14th AMENDMENT-STATE CREATED DANGER
25                      (Against All Individual Defendants and DOES 1-10)
26       71.       Plaintiff repeats and re-alleges each and every allegation in
27    paragraphs 1-5 and 12-58 of this Complaint with the same force and effect as if
28    fully set forth herein.




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1        72.       Under the Fourteenth Amendment, Mr. Nelson had the constitutional
2     right to be free from defendants‟ affirmative action of placing him in a position of
3     actual, particularized danger. In this case, defendants knew that Mr. Nelson was
4     evaluated and deemed incompetent to stand trial as a result of his mental illness,
5     knew that he had decompensated while in jail, knew that his anxiety and psychosis
6     aggravated while in jail, knew that he required psychiatric in-patient treatement,
7     knew that he was making suicidal ideations, knew that he had history of suicide
8     attempt at the TTCF and suffered from schizophrenia and bi-polar disorder, and
9     that he was in danger of being to himself.
10       73.   While in the general population, Mr. Nelson was in Defendants' care and
11    custody, and as such, defendants had an affirmative duty not to expose Mr. Nelson
12    to more danger than he would have been prior to his incarceration.
13       74.   By blatantly ignoring Mr. Nelson‟s complaints due to his decompensated
14    state, complaints that his prescribed psychiatric medication was worsening his
15    mental state, threats to kill himself, and failing to place Mr. Nelson in close
16    observation in the forensic in-patient unit, and by allowing an incompetent inmate
17    to remain in general population knowing very well there was a court ordered state
18    hospital commitment which necessitated prompt inpatient psychiatric treatment,
19    Defendants made an affirmative decision which consequently placed a known
20    mentally ill detainee in grave danger and created a risk of suicide. Mr. Nelson was
21    not actively suicidal upon being admitted to the jail, but his condition deteriorated
22    specifically because of the conditions of confinement causing decompensation to
23    the point of self-harm.
24       75.   By failing to treat Mr. Nelson in the forensic in-patient unit and allowing
25    Mr. Nelson in the general population, in his decompensated state, defendants also
26    acted with deliberate indifference to a known or obvious danger.
27       76.   Defendants‟ affirmative acts created a foreseeable risk that Mr. Nelson
28    would be in grave danger if he remained in general population with no access to




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1     in-patient psychiatric treatment.
2        77.    Accordingly, Defendants each are liable to Plaintiffs for compensatory
3     and punitive damages under 42 U.S.C. § 1983 and the 14th Amendment, as well as
4     for wrongful death damages.
5                                 THIRD CLAIM FOR RELIEF
6                VIOLATIONS OF TITLE II OF THE AMERICANS WITH
7                DISABILITIES ACT AND THE REHABILITATION ACT
8              (42 U.S.C. § 1983) (Against Defendants COUNTY and DOES 7-10)
9        78.       Plaintiff repeats and re-alleges each and every allegation in
10    paragraphs 1-5 and 12-58 of this Complaint with the same force and effect as if
11    fully set forth herein.
12       79.       Claim Three is a claim for disability discrimination against
13    Defendants and, pursuant to 42 U.S.C. § 1983, for violating Title II of the
14    Americans with Disabilities Act (ADA) (public entities). Title II of the ADA
15    prohibits disability-based discrimination by any public entity. See 42 U.S.C. §§
16    12131-12132; 28 C.F.R. § 39.130; and 28 C.F.R. §35.130.
17       80.       Section 504 of the Rehabilitation Act prohibits discrimination against
18    an individual based on disability by any program or entity receiving federal funds.
19    See 29 U.S.C. §§ 794(a), (b)(1)(A), (b)(1)(B), and (b)(2)(B).
20       81.       These disability anti-discrimination laws impose an affirmative
21    duty on public entities to create policies or procedures to prevent discrimination
22    based on disability.
23       82.       Mr. Nelson was disabled as defined in 42 U.S.C. § 12102 and 42
24    U.S.C. §§ 12131, 28 C.F.R. §§ 35.108, as he suffered a serious mental illness
25    impairment that substantially limited one or more of his major life activities.
26       83.    Defendant COUNTY is a program or entity that receives federal
27    financial assistance.
28       84.   Defendant COUNTY is a public entity as defined by Title II of the ADA.




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1        85.    Defendant COUNTY‟s jail, the TTCF Jail , is a facility and its
2     operation comprises a program of service for purposes of Title II of the ADA.
3        86.   Mr. Nelson was an individual qualified to participate in or receive
4     the benefit of COUNTY‟s services, programs, or activities
5        87.    Mr. Nelson was abused because of his disabilities by COUNTY‟s
6     agents and employees at the County jail.
7        88.    Mr. Nelson was abused when he was denied safe and appropriate
8     psychiatric treatment for known mental health condition he suffered due to his
9     disability, which was known to Defendant COUNTY and its agents and employees,
10    and the abuse of Defendant COUNTY and its agents and employees. Such abuse
11    and denial of appropriate psychiatric placement by Defendant CITY and its agents
12    and employees was in spite of NELSON 's disability. Such abuse constitutes
13    discrimination against individuals based on their disability in violation of the
14    Rehabilitation Act and Title II of the ADA.
15       89. At the time of this incident, TTCF had a fully operational in-patient
16    psychiatric unit inside the facility providing psychiatric treatment to other inmates
17    situated similarly to Mr. Nelson who were gravely disabled, and had
18    decompensated as a result of a serious mental illness. Any claim that that the jail
19    FIP was overwhelmed by other psychiatrically decompensated inmates is
20    inexcusable since the COUNTY had known of such problem for many years and
21    had ample time and opportunity to remedy such shortage of beds at the FIP, and
22    most recently as of 2015 DOJ Settlement Decree, the latest 2020 monitor report
23    (See Exhibit #2), was put on notice that it was still non-compliant in providing
24    adequate mental healthcare to its mentally ill population.
25       90.   Defendant COUNTY failed to provide a safe place to house Mr. Nelson
26    and failed to admit him to the appropriate level of psychiatric care that he needed-
27    -the forensic in-patient unit.
28       91.   Defendant COUNTY showed a deliberate indifference towards Mr.




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1     Nelson and his safety and psychiatric care when the COUNTY:
2              a.       Failed to provide safe housing placement at TTCF pending transfer
3     to a state hospital;
4              b.      Failed to admit Mr. Nelson to the forensic in-patient unit, or at
5     minimum in the HOH where he would be closely monitored and benefit from 15
6     minute safety checks.
7              c.       Failed to provide services or accommodate Mr. Nelson with access to
8     the programs and services of COUNTY's designated mental health facilities within
9     Los Angeles County Jails for person who qualify for access and services under
10    California and federal law;
11             d.       Failed to provide services or accommodate Mr. Nelson as indicated
12    and with appropriate classification, housing and monitoring for a person in their
13    sole and exclusive custody who they knew was mentally disabled and deemed
14    incompetent;
15             e.       Failing to provide reasonable accommodations to people in custody
16    with mental disabilities pending transfer to a state hospital, and providing instead
17    quality of care and service that is different, separate, and worse than the service
18    provided to other individuals with the same disabilities;
19             f.       Failed to comply with the U.S. Department of Justice requirements
20    regarding care, treatment and security to persons with mental disabilities, resulting
21    in discrimination against Mr. Nelson, under the ADA and RA.
22       92. Plaintiffs bring this claim as both successor-in-interest to Mr. Nelson and
23    individually, seeking both survival and wrongful death damages for the violation
24    of Ms. Tater‟s rights. Plaintiff also seeks attorney‟s fees and costs.
25                                    FOURTH CLAIM FOR RELIEF
26                          MONELL- FAILURE TO TRAIN (42 U.S.C. §1983)
27                     (Against Defendant COUNTY, Dr. SHERIN and DOES 7-10)
28       93.        Plaintiff repeats and re-alleges each and every allegation in paragraphs




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1     1-5 and 12-58 of this Complaint with the same force and effect as if fully set forth
2     herein.
3        94. Defendant COUNTY and Dr. SHERIN knew that Mr. Nelson was
4     suffering from serious psychiatric conditions and that he was a threat to his own
5     safety. Given the known limitations of the County jail, it was obvious that County
6     jail detention staff, including the individual defendants would need special
7     training in order to seriously address the obvious risk of decompensation by
8     incompetent detainees suffering from a serious mental illness and waiting for their
9     state hospital transfer.
10       95.Defendants and DOES 1-10 had not been trained in the proper assessment
11    of reported threats to self harm, and the proper assessment to place detainees with
12    severe mental illness in the appropriate housing placement and under close
13    observation. This failure to train led to a complete failure of care to
14    Mr. Nelson , ultimately resulting in his death.
15       96.Despite TTCF‟s general jail policies and procedures requiring that threats
16    of suicide ideation be investigated and appropriately addressed, and the policy and
17    procedure that severely mentally ill and suicidal individuals be housed in the
18    forensic in-patient unit, COUNTY had failed to train the detention staff
19    adequately as to recognize the urgency with which these threats and detainees
20    must be assessed.
21       97.Defendant COUNTY further had a custom, practice and policy of ignoring
22    threats of suicide ideations and minimizing symptomology of decompensated
23    inmates.
24       98.Defendant COUNTY employees had a custom and practice of placing
25    severely psychiatrically unstable inmates in a lower level of psychiatric care
26    because of a lack of availability of space in the higher level care units.
27       99.Defendant COUNTY employees had a custom and practice of delaying the
28    assessment of suicide ideation and delaying the review and effectiveness of




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1     psychiatric medication, some of which have known side effects to increase the
2     risk of suicide.
3        100.      As a result of the COUNTY‟s failure to adequately train and
4     implement policies, Mr. Nelson was caused undeserved pain and agony all
5     culminating to his suicide on December 18, 2020.
6        101.      As a direct and legal result of Defendants‟ acts, Plaintiff has suffered
7     damages, including, without limitation, funeral expenses, and past and future pain
8     and suffering, loss of life, loss of opportunity for life, and compensatory damages.
9     Such damages including attorneys' fees, costs of suit, and other pecuniary losses
10    not yet ascertained. Additionally, Defendants are liable to Plaintiffs for
11    compensatory and punitive damages under 42 U.S.C. § 1983.
12                                 FIFTH CLAIM FOR RELIEF
13                   MONELL- UNCONSTITUTIONAL CUSTOM, POLICY
14                               OR PRACTICE (42 U.S.C. §1983)
15                         (Against Defendant COUNTY and DOES 5-10)
16       102.      Plaintiff repeats and re-alleges each and every allegation in
17    paragraphs 1-5 and 12-58 of this Complaint with the same force and effect as if
18    fully set forth herein.
19       103.      On and for some time prior to December 18, 2020, (and continuing to
20    the present date) Defendants COUNTY deprived Plaintiffs' decedent of the rights
21    and liberties secured to them by the Fourteenth Amendment to the United States
22    Constitution, in that said defendants and their supervising and managerial
23    employees, agents, and representatives, acting with reckless and deliberate
24    indifference to the rights and liberties of Plaintiffs‟ decedent and of persons in his
25    class, situation and comparable position in particular, knowingly maintained,
26    enforced and applied an official recognized county custom, policy, and practice
27    of: Acting deliberately indifferent to the substantial risk of harm to the safety of
28    detainees when defendants failed to take any meaningful corrective measures




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1     regarding threats of suicide, and failing to safeguard and adequately treat pretrial
2     detainee deemed incompetent and committed to state hospital, and failure to
3     appropriately place severely mentally ill detainees in the FIP unit. The following
4     is a list of Monell violations:
5           (a) Failing to implement policies and procedures on assessment of threats
6           of suicide and adequate assessments of detainees who are a danger to
7           themselves;
8           (b) Routinely failure by medical staff to assess the symptoms and
9           assessment of inmates suffering from suicidal ideations requiring
10          admittance to the FIP and minimizing of suicidal symptoms;
11          (c) Inadequately supervising, training, controlling, assigning, and
12          disciplining employees including TTCF Jail staff;
13          (d) Routinely neglecting and ignoring threats of suicide
14          and enabling the custom and practice of housing suicidal inmates in general
15          population;
16          (e) Engaging in the custom and practice of discriminating against mentally
17          ill inmates and withholding urgent housing transfers;
18          (f) Inadequately screening, by custody and mental health staff, to assess
19          suicide risk;
20          (g) Failing to appropriately supervise, observe, and monitor detainees,
21          including those identified as a risk of suicide or homicide;
22          (h) inadequately communicating between mental health care and custody
23          staff;
24          (i) Failing to implement appropriate multi-disciplinary treatment plans;
25          (j) Failing to implement adequate suicidal or critical incident review
26          processes;
27          (k) Repeatedly placing two mentally unstable detainees in the same cell;
28          (l) Inadequately conducting proper Title 15 welfare checks;




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1           (m) Failing to house highly vulnerable mentally ill and detainees deemed
2           incompetent to stand trial in FIP, despite clear indications that the detainees
3           require more intensive treatment and supervision;
4           (n) Failing to hospitalize detainees in a psychiatric hospital that could
5           perform an in-patient evaluation;
6           (o) Failing to provide adequate psychiatric assessment, treatment and
7           intervention
8        104.     On December 19, 2002, the Los Angeles County and the United
9     States entered into a Memorandum of Agreement Regarding Mental Health
10    Services at the Los Angeles County Jail (“MOA”). The MOA was entered into to
11    avoid potential litigation concerning the mental health services at the jail. Among
12    the provisions in the agreement is the acknowledgment that:
13          (a) the "Sheriff of Los Angeles County, and the Los Angeles County
14       Sheriff's Department of Mental Health are responsible for overseeing and/or
15       providing mental health services to the inmates at the Jail;"
16          (b) the “Mental health staff shall make weekly rounds in locked down non
17       mental health housing modules (e.g. administrative segregation, disciplinary
18       segregation) at the Jail to identify inmates who may have been missed during
19       screening or who have decompensated while in the Jail;”
20          (c) “the County shall provide adequate mental health treatment to all
21       inmates determined to be mentally ill;”
22          (d) “the County shall ensure adequate therapy and counseling for all
23       mentally ill inmates who need such care. This includes adequate space for
24       treatment, adequate staff to provide treatment, and adequate therapeutic
25       programming;”
26          (e) “the County shall ensure that inmates observed to be potentially suicidal
27       receive appropriate crisis intervention, (including placement in a safe setting
28       and evaluations in a timely manner), by qualified mental health professional to




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1        determine whether and what level of suicide observation is required;”
2           (f) “the County shall provide sufficient mental health staffing to ensure
3        timely access to adequate mental health treatment and meet the obligations and
4        provide the services listed in this Agreement;”
5           (g) “the County shall implement mandatory orientation and continuing
6        competency based in-service training for correctional staff in the identification
7        and custodial care of mentally ill inmates, including, but not limited to: (b)
8        recognizing and responding to indications of suicidal thoughts, (c) proper
9        suicide observation, and (f) response to mental health crises, including suicide
10       intervention . . . the County shall provide annual refresher training;”
11       105.       On June 4, 2014, the Department of Justice ("DOJ") sent to County
12    Counsel a compliance letter on the 2002 MOA about treatment of the mentally ill.
13    The DOJ found: “Based on our review, we conclude that the County violates the
14    Eighth and Fourteenth Amendments of the United States Constitution by failing
15    to provide adequate mental health services and protect prisoners from serious
16    harm and risk of harm at the Jails due to inadequate suicide prevention
17    practices."
18       106.       The June 4, 2014 DOJ letter articulated numerous systemic failures
19    of Defendant COUNTY to maintain constitutionally adequate mental health care
20    which directly applied to the unconstitutional treatment of Mr. Nelson and his
21    untimely death. These conditions, include, but are not limited to:
22          (a) There was inadequate mental health care to prevent prisoners from
23       becoming suicidal, to identify suicidal prisoners, or to prevent
24       prisoners from going into crisis.
25          (b) The Los Angeles County Jails do not provide appropriate custodial
26       supervision for prisoners, resulting in repeated lapses in the Jails‟
27       safety checks, creating a serious risk of harm to prisoners;
28          (c) The general lack of adequate supervision is especially troubling




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1        given the hazardous conditions, including known suicide risks that
2        exist in nearly every housing unit in the jails. Prisoners with mental
3        illness are housed in conditions that present, rather than prevent, a
4        risk of suicide. Deputies do not consistently perform timely,
5        thorough safety checks.
6           (d) Custody staff of the LASD, the Medical Services Bureau, and the
7        Department of Mental Health had inadequate intake screening and
8        identification of individuals with mental illness and are at risk for
9        suicide, ignoring significant mental health history;
10          (e) Incomplete information collection and communication in intake
11       assessments and evaluations: Although LASD conducts screenings
12       to identify prisoners who may be at risk for suicide or self-harm,
13       screenings are often not filled out completely or adequately
14       incorporated into the prisoner‟s electronic medical record. As a
15       result, intake screening is insufficient to identify and protect
16       individuals at risk for suicide;
17          (f) Custody staff of the LASD, the Medical Services Bureau, and the
18       Department of Mental Health often operate in “silos” when
19       addressing suicide incidents and risks, resulting in a lack of
20       communication, or miscommunication between representatives of
21       these entities, causing a critical breakdown in the custody and care
22       of the prisoners in the Jails;
23       107.      The actions and inactions of the LASD, the Department of Mental
24    Health and the Medical Services Bureau set forth in the preceding paragraphs
25    were known or should have been known to the policy makers responsible for the
26    Defendant COUNTY and occurred with deliberate indifference to either the
27    recurring constitutional violations elaborated above, and/or to the strong
28    likelihood that constitutional rights would be violated as a result of failing to train,




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1     supervise or discipline in areas where the need for such training was obvious.
2        108.        The actions and omissions of Defendant COUNTY set forth in the
3     preceding paragraphs were a motivating force behind the violations of Mr.
4     Nelson‟s constitutional rights as set forth in this complaint.
5        109.        The TTCF has been and is currently working under federal
6     supervision since September 3, 2015 pursuant to the Order of the Joint Settlement
7     Agreement (See Exhibit #1). Jail. The Settlement Agreement was specifically
8     intended to ensure measures to protect prisoners from conditions that “place them
9     at unreasonable risk of harm from suicide, self-injurious behavior, or unlawful
10    injury by others, in accordance with their constitutional rights.” The Settlement
11    Agreement resulted in bi-annual reporting requirements concerning the
12    conditions for detainees with mental health issues at TTCF, and whether the
13    agreement imposed by the court has been adhered to. The latest report, the 11th,
14    which concerned the period of July 1, 2020 - December 31, 2020 (See Exhibit
15    #2), indicated that "the pace of compliance has slowed and a number of the most
16    challenging mental health provisions remain Non-Compliant now more than five
17    years after the Agreement was executed." Some of the issues indicated in the
18    report regarding areas of non-compliance, are clear Monell violations, as these
19    areas have been repeatedly non-compliant for years--thus establishing that
20    defendant COUNTY has maintained unconstitutional customs, practices, and
21    policies. COUNTY was on notice of its issues of non-compliance, as established
22    by the decree and the monitoring reports. The following is a list of these Monell
23    violations, which the report deemed "non-compliant":
24          (a) Repeatedly suspending group mental health treatment;
25          (b) Failing to provide mental health assessments after an adverse triggering
26          event;
27          (c) Failing to provide clinically appropriate mental health crisis intervention
28          services;




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1           (d) Failing to provide adequate staffing to meet the needs of the mental
2           health detainees at FFTC;
3           (e) Failing to maintain sufficient HOH housing;
4           (f) Failing to offer HOH inmates clinically appropriate treatment, at least
5           weekly;
6           (g) Failing to offer HOH inmates an appointment with a QMHP at least
7           once a month;
8           (h) Failing to provide clinically appropriate structured mental health
9           treatment;
10          (i) Failing to adequately manage the active number of mental health
11          caseloads
12          (j) Failing to provided adequate therapeutic services in mental health
13          housing
14          (k) Failing to provide adequate out-of-cell time in HOH
15       110.         The continued deficiency in complying with the 2015 decree
16    enabled Mr. Nelson‟s as inadequate staffing, housing, treatment, and caseload
17    management all resulted in Mr. Nelson‟s mental health falling to the wayside, and
18    causing to deteriorate into suicidal behavior. These deficiencies are even more
19    egregious considering that Mr. Nelson who, upon information and belief, was a
20    no-bail status, was compelled to go to jail, had no other option for mental
21    healthcare, and most importantly, was not suicidal when initially booked.
22       111.      By reason of the aforementioned policies and practices of Defendants
23    and COUNTY, Plaintiff has suffered the loss of his son.
24       112.      Defendant COUNTY, together with various other officials, whether
25    named or unnamed, had either actual or constructive knowledge of the deficient
26    policies, practices and customs alleged in the paragraphs above. Despite having
27    knowledge as stated above these defendants condoned, tolerated and through
28    actions and inactions thereby ratified such policies. Said defendants also acted




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1     with deliberate indifference to the foreseeable effects and consequences of these
2     policies with respect to the constitutional rights of Mr. Nelson and other
3     individuals similarly situated.
4        113.      By perpetrating, sanctioning, tolerating and ratifying the outrageous
5     conduct and other wrongful acts, Defendants COUNTY, acted with an intentional,
6     reckless, and callous disregard for the well-being of decedent and his
7     constitutional as well as human rights.
8        114.      Furthermore, the policies, practices, and customs implemented and
9     maintained and still tolerated by Defendants COUNTY were affirmatively linked
10    to and were a significantly influential force behind the decedent‟s death.
11       115.      As a direct and legal result of Defendants‟ acts, Plaintiffs have
12    suffered damages, including, without limitation, funeral expenses, and past and
13    future pain and suffering, pre-death pain and suffering, loss of life, loss of
14    opportunity for life, and compensatory damages. Such damages including
15    attorneys' fees, costs of suit, and other pecuniary losses not yet ascertained.
16    Additionally, Defendants are liable to Plaintiffs for compensatory and punitive
17    damages under 42 U.S.C. § 1983.
18                                  SIXTH CLAIM FOR RELIEF
19                  14th AMENDMENT-INTERFERENCE WITH FAMILIAL
20              RELATIONS (Against All Individual Defendants and DOES 1-10)
21       116.      Plaintiff repeats and re-alleges each and every allegation in
22    paragraphs 1-5 and 12-58 of this Complaint with the same force and effect as if
23    fully set forth herein.
24       117.      Plaintiff Vincent Valdez had a cognizable interest under the Due
25    Process Clause of the Fourteenth Amendment of the United States Constitution to
26    be free from state actions that deprive her of life, liberty, or property in such a
27    manner as to shock the conscience, including but not limited to unwarranted state
28    interference in Plaintiff‟s familial relationship with his son, Vincent Nelson.




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1        118.       Plaintiff‟s decedent, Vincent Nelson, had a cognizable interest under
2     the Due Process Clause of the Fourteenth Amendment of the United States
3     Constitution to be free from state actions that deprive him of life, liberty, or
4     property in such a manner as to shock the conscience, including but not limited to
5     unwarranted state interference in his familial relationship with his father, Vincent
6     Valdez.
7        119.       The aforementioned actions of Defendants and DOES 1-10, along
8     with other undiscovered conduct, shock the conscience, in that they acted with
9     deliberate indifference to the constitutional rights of Mr. Nelson and Plaintiff, and
10    with purpose to harm unrelated to any legitimate penological objective.
11       120.       As a direct and proximate result of these actions, Mr. Nelson
12    experienced pain and suffering, including psychological decompensation,
13    confusion, anxiety, mental distress, agony and despair, and eventually died.
14    Defendants thus violated the substantive due process rights of Plaintiffs to be free
15    from unwarranted interference with their familial relationship with Mr. Nelson .
16       121.       As a direct and proximate cause of the acts of Defendants, Plaintiff
17    suffered emotional distress, mental anguish, and pain. Plaintiff has also been
18    deprived of the life-long love, companionship, comfort, support, society, care, and
19    sustenance of Mr. Nelson , and will continue to be so deprived for the remainder
20    of his natural live.
21       122.       As a result of their misconduct, Defendants and DOES 1-10, are
22    liable for Mr. Nelson 's injuries, either because they were integral participants in
23    the and failure to provide safe and appropriate housing, or because they failed to
24    intervene to prevent these violations.
25       123.       Defendants‟ conduct was willful, wanton, malicious, and done with
26    reckless disregard for the rights and safety of Nelson 's and Plaintiff and therefore
27    warrants the imposition of exemplary and punitive damages as to the individual
28    Defendants.




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1        124.      Plaintiff Vincent Valdez brings this claim both individually and as a
2     successor-in-interest to the decedent, and seek survival and wrongful death
3     damages under this claim. Plaintiff also seeks punitive damages and attorneys‟
4     fees under this claim.
5                                 SEVENTH CLAIM FOR RELIEF
6                               NEGLIGENCE-WRONGFUL DEATH
7                               (Against All Defendants and DOES 1-10)
8        125.      Plaintiff repeats and re-alleges each and every allegation in
9     paragraphs 1-5 and 12-58 of this Complaint with the same force and effect as if
10    fully set forth herein.
11      126.       Plaintiff brings this action pursuant to the California Wrongful death
12    statutes as codified in Code of Civil Procedure §377.60, §377.32 and §377.34.
13       127.      The decedent is survived by his father, Vincent Valdez, who is
14    entitled to recover wrongful damages for his death.
15       128.      The decedent did not bring any action for personal injury in his
16    lifetime, and no other action from the death of Decedent has been commenced
17    against the defendants.
18       129.      On October 21, 2021, under the recently passed Senate Bill 447,
19    Plaintiff, as a successor-in-interest to his son, will also recover for any pre-death
20    pain, suffering and disfigurement that Mr. Nelson endured before taking his own
21    life. Such survival damages are now recoverable under this newly enacted statute.
22       130.      Defendant COUNTY is vicariously liable for the negligent acts of its
23    employees while performed in the scope of employment.
24       131.      Defendants and DOES 1-10 owed a duty of care to Mr. Nelson, while
25    he was in their care and custody, to prevent endangering a known mentally ill
26    pretrial detainee who was suffering from a mental health crisis. Defendant owed a
27    duty to provide reasonable security and render access and delivery of mental and
28    medical care, treatment and/or emergency services for his mental condition.




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1     Defendants further owed a duty of care to Mr. Nelson to ensure he was receiving
2     adequate psychiatric treatment while awaiting his transfer to state mental hospital
3     and to ensure that he was placed in a safe housing location of the jail. Defendants
4     owed a duty of care to make sure he would not languish for unnecessarily in
5     general population, and in the county jail generally, where the level of mental
6     health care is notoriously lacking as evidenced by the 2015 Settlement decree with
7     the U.S. Department of Justice. Defendant owed a duty to ensure that Mr. Nelson
8     was promptly transferred to a state hospital after his October 1, 2020 commitment
9     date. Defendants owed a duty of care to make sure Mr. Nelson would be placed in
10    the FIP, as he was gravely disabled due to his mental illness, had a prior history of
11    suicide attempt while at the TTCF, and presented an acute danger to himself--
12    requiring inpatient care. Defendants owed a duty of care not to ignore complaints
13    of suicidal ideation and intent.
14       132.      It was foreseeable that Mr. Nelson, a suicidal detainee with severe
15    bipolar and anxiety attacks, and who had evidently decompensated, would be in
16    grave danger if allowed to remain in the jail, untreated and in a cell with another
17    detainee, who upon information and beliefs was also suicidal, and whose presence
18    was in theory, designed to act as a suicide deterrent. Upon information and belief,
19    at the time of the incident, this other cellmate was heavily medicated to render
20    moot his ability to deter Mr. Nelson from committing suicide.
21       133.      It was also foreseeable that allowing Mr. Nelson to remain in the
22    county jail past his commitment date, that given his psychiatric condition would
23    place in grave danger of further injury or death. Additionally, it was foreseeable
24    that allowing a pretrial inmate deemed incompetent to remain in a lower level of
25    mental health care without adequate treatment would cause him decompensate
26    until he became a danger to himself.
27       134.      Defendants breached their duty of care to ensure that their in-custody,
28    the person who they were directly responsible for, was reasonably safe during the




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1     time he was in their custody and care. Defendants, cumulatively further breached
2     their duty of care to make sure Mr. Nelson was placed in a safe housing location
3     under frequent observation. Defendants breached their duty of care when they
4     failed to transfer Mr. Nelson within a reasonable period of time past his mental
5     state hospital commitment date. At the least, defendant breached their duty of
6     care by not ensuring that an adequate bridge order took place and that a competent
7     level of mental healthcare was provided to Mr. Nelson within the Defendant‟s
8     continuity of care responsibilities. Defendants also breached their duty by failing
9     to place Mr. Nelson, either in the high observation unit or in the FIP, where he
10    would receive the higher level of care and observation that he needed.
11    135. Defendants knew, or in the exercise of reasonable care should have
12    known that by ignoring a mentally ill detainee, especially one who was
13    experiencing suicidal tendencies and ideations, without increasing the level of
14    mental health treatment and level of observation would place Mr. Nelson in
15    immediate and grave danger. Defendants knew or in the exercise of reasonable
16    care should have known that by failing to house Mr. Nelson, a known mentally
17    incompetent and gravely disabled inmate, into FIP, they were providing
18    insufficient mental health care, and endangered the life of Mr. Nelson .
19       136.      That as a direct and proximate result of the acts and omissions of the
20    Defendants, and each of them, Decedent has suffered injuries to his body and his
21    mind all of which survives his death and are represented by Plaintiff Vincent
22    Valdez as successor-in-interest to Mr. Nelson's special and general damages. All
23    to Plaintiffs‟ general damage in a sum according to proof at the time of trial.
24       137.      As a further direct and proximate result of defendants conduct, said
25    conduct was so in fact done with recklessness, oppression and malice, defendants
26    knew or should have known that to outright ignore the complaints of threats to go
27    “man-down” , such an act was so despicable and done with willful and knowing
28    disregard for the safety of Mr. Nelson , justifying the award of exemplary „




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1     damages.
2                                  EIGHTH CLAIM FOR RELIEF
3               FAILURE TO SUMMON MEDICAL CARE G.C. § 845.6 & 844.6
4                               (Against All Defendants and DOES 1-10)
5        138.      Plaintiff repeats and re-alleges each and every allegation in
6     paragraphs 1-5 and 12-58 of this Complaint with the same force and effect as if
7     fully set forth herein.
8        139.         California Government Code §845.6 creates an affirmative duty for
9     jail deputies to furnish or obtain medical care for a prisoner in his/her custody. In
10    fact, a public employee, and the public entity where the employee is acting within
11    the scope of his employment, is liable if the employee knows or has reason to
12    known that the prisoner is in need of immediate medical care and he fails to take
13    reasonable action to summon such medical care.
14       140.      By virtue of the foregoing, Defendants, knew or had reason to know
15    that Mr. Nelson needed in-patient psychiatric treatment and that he had serious
16    and obvious mental illness that put the staff on notice that they should have had
17    his mental condition closely monitored, going forward from August4, 2020, and
18    that on or before December 18, 2020, Mr. Nelson needed immediate medical care
19    and was not given such care. The failure to provide immediate medical care and
20    mental health care, where Mr. Nelson 's health and mental condition was
21    deteriorating, proximately caused his death.
22       141.      Mr. Nelson desperately required prompt medical attention from all
23    defendants on December 18, 2020. Defendants had actual and constructive
24    knowledge of Mr. Nelson 's need for immediate medical care as he mentally
25    decompensated, in a suicidal state, and needed immediate medical care and was
26    not given such care.
27       142.      Defendants failed to discharge the duty imposed upon them by G.C.
28    § 845.6. As a direct and proximate result of Defendants‟ acts and/or omissions,




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1     here above described, Mr. Nelson suffered serious physical injuries, resulting in
2     his untimely death.
3        143.     Defendant COUNTY is liable for its employees‟ breach of duty to
4     summon immediate medical care while acting in the course and scope of their
5     employment under the doctrine of Respondeat Superior.
6                                   PRAYER FOR RELIEF
7           WHEREFORE, Plaintiffs request entry of judgment in their favor and
8     against all Defendants, and DOES 1 through 10 inclusive, as follows:
9           1.     For compensatory damages including special and general in an
10                 amount to be proven at trial;
11          2.     SB 447 pre-death survival damages;
12          3.    For punitive damages against the individual defendants in an amount
13                to be proven at trial;
14          4.    For interest;
15          5.    For reasonable costs of this suit and attorneys' fees per 42 U.S.C. 6
16                §1988 and C.C. 52.1 et seq.; and
17          6.     For such further other relief as the Court may deem just, proper, and
18                appropriate.
19

20                                    DEMAND FOR JURY TRIAL
21          Plaintiff hereby demands a jury trial.
22

23      Date: January 10, 2022        THE SEHAT LAW FIRM, PLC
24

25
                                             By: /s/ Cameron Sehat
                                             Attorneys for Plaintiff
26

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